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Exhibit C

 

Angela D. Caesar, Clerk of Court ’
US. District Court, District of Columbia
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, ET AL.,

Plaintiffs,
vs.
GOOGLE LLC,

Defendant.

CV No. 20-3010
Washington, D.C.
October 30, 2020
10:00 a.m.

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TRANSCRIPT OF

STATUS CONFERENCE VIA TELECONFERENCE PROCEEDINGS
BEFORE THE HONORABLE AMIT P. MBHTA
UNITED STATES DISTRICT JUDGE

APPEARANCES :

For the Plaintiffs:

   

| DEC 1 4 2020

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US. District Court, District of Columbia

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PROCEEDINGS

THE COURT: Hi. Good morning, everyone.

DEPUTY CLERK: Good morning.

This is Civil Action 20-3010, the United States of
America, et al., versus Google LLC.

Kenneth Dintzer, Elizabeth Jensen,
Jests Alvarado-Rivera, Ryan Sandrock, Thomas Greene,
Stacie deBlieux, Mark Mattioli, Rebecca Hartner,
Kelsey Paine, Bret Fulkerson, Kim Van Winkle,
Erica Sullivan, Christian Lewis, Dale Cecka, Hart Martin,
Jonathan Farmer, Philip Heleringer, Johnathan Carter,
Margaret Eckrote, I'm sorry, for the plaintiffs.

John Schmidtlein, Franklin Rubinstein,
Mark Popofsky, Susan Creighton for the defendants.

THE COURT: Okay, Counsel. Good morning to all of
you and welcome. I hope that you and your families are safe
and healthy and everybody is doing well.

Thank you for being available this morning.

I thought it would be useful to get everyone together early
in this case and get -—- and particularly useful for me to
get an understanding of how the parties see the case
unfolding and what schedule you all envision as we head into
the fall and the new year.

I kind of had three things I wanted to raise with

the parties. And then certainly did not mean for those

 

 
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three to be the three exclusive matters that we would
discuss this morning.

But I wanted to first talk about the schedule and
then talk about the scope of the litigation. And then,
thirdly, I wanted to raise a handful of housekeeping
matters.

But let's talk first about scheduling. As
IT understand it, the defendant has accepted service of the
complaint and, therefore -- or, I should say, waived service
of the complaint and agreed to -—- I assume counsel agreed to
accept service, which puts the answer due in mid-December.

So, Mr. Schmidtlein, can you help me understand a
little bit in terms of what Google intends to do at that
deadline; or whether you all have discussed a different
deadline, whether you intend to answer or whether you intend
to move to dismiss?

MR. SCHMIDTLEIN: Good morning, Your Honor.

John Schmidtlein for Google.

You are correct that December of -- I think
December 21st, by our calculation, is the date for Google to
respond to the complaint.

I can tell you at this time that we have not yet
made a final decision as to whether we are going to move or
answer the complaint. But I expect that we will finalize

that decision in the coming weeks. And if Your Honor would

 

 
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like us to commit to giving you an indication on that issue,
I can certainly put a deadline on that and report back to
you.

I do think, though, that regardless of whether we
move to dismiss or whether we answer the complaint, we are
anxious to sort of get moving forward with, I think, a
number of other litigation matters that we can put in place
and that we can begin discussing with plaintiffs' counsel in
the interim having to do with protective orders, other types
of disclosures that would be made and I think could be
efficiently done before any time to answer or move to
dismiss.

THE COURT: So help me understand, though, a
little bit, Mr. Schmidtlein, your response, I guess, raises
a number of questions:

One is, if -—- and maybe you don't know the answer
to this; and if that's the answer, then that's okay -—- are
you envisioning, to the extent that you might move to
dismiss, would it be a motion to dismiss the complaint in
its entirety or a motion to dismiss potentially on a portion
of the complaint through -- on only a portion of the
government's theories?

MR. SCHMIDTLEIN: I would imagine that if we file
a motion to dismiss in this case at this juncture, I

anticipate it would be a motion to dismiss the entire

 

 

 
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complaint.

THE COURT: And so if that's a possibility, then
some of the other issues or some of the other matters that
you would like to proceed forward on, are those matters you
want to put in place in anticipation of possible discovery,
or are those matters in place that would be related to any
motion?

MR. SCHMIDTLEIN: Those would be matters put in
place related to possible discovery in the case.

Specifically, I think that the parties should get
working on very, very quickly a protective order. I'm sure
Your Honor can recall from the Sysco Foods case that there
was some litigation around the contours and the scope of the
protective order. I think that we could sort of possibly
deal with those and try to come to an agreement with the
government on those. I've had a preliminary conversation
with Mr. Dintzer in that regard.

I believe initial disclosures can be done in the
relatively near future as well.

And that we can begin talking about a process for
the government to begin producing to us investigative
materials that have been gathered in the case, documents
that have been produced to them by third parties as part of
the investigation, any declarations, any depositions,

because those materials, I think, are going to influence the

 

 
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scheduling and the time periods that we would see as
relevant for moving the litigation forward, which, as I
said, we're anxious to do.

THE COURT: Okay.

Do I assume -- well, let me put it differently:
Is it -- has Google received any of the government's
investigative material thus far in the lead-up to the
litigation?

IT don't know whether the government shared any of
its findings with you or not. I don't assume for a moment
that they supplied you with everything, but have you
received any portion of their investigative file?

MR. SCHMIDTLEIN: We have received nothing,

Your Honor.

THE COURT: Okay.

So, then, Mr. Schmidtlein, in terms of timing,
then, look, obviously, the rules don't require you to commit
to a decision about whether to move or answer until the
responsive pleading date is upon us. But if there's a date
by which you think you'd be prepared to let us know what you
have -- what you intend to do, that would certainly be
useful in terms of moving things along, and I'd certainly
welcome that.

So today is October 30th. What do you think is a

reasonable date by which you would be able to advise us what

 

 
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the defendant intends to do?

MR. SCHMIDTLEIN: Your Honor, I would respectfully
request until November 13, which will be two weeks.

And if I -—-— I will commit to the Court, if I get a
conclusion or we come to a conclusion in advance of that,
I will advise the plaintiffs, and I would be happy to advise
Your Honor as well in whatever form you would like.

THE COURT: So that would be -—- that's fine by me.
Two weeks is certainly a reasonable amount of time. So if
you would just file a notice, I think, a simple notice on
the docket would be more than sufficient to advise us all.

Obviously, if you're thinking changes, that this
is going to be somehow a partial motion for summary
judgment, as opposed to a complete motion for summary
judgment, then let us know that, too. But I think
it would be helpful to get an earlier signal from you all as
to how you intend to proceed so we can all sort of try and
get things started in as efficient a manner as possible.
All right. So that's a helpful start to understanding where
things are going.

In terms of protective order, then, let me turn to
government counsel and ask to what extent you and
Mr. Schmidtlein have been able to discuss contours of a
protective order and, in particular, the protective order as

it relates to third-party discovery.

 

 
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You know, I have a number of —- well, in Sysco,
there were a lot of discussions about third-party material
and how third-party material would be treated, in
particular, the question of who within the defendant
company, or in that case defendant companies, would be
entitled to review such material, was something that was
litigated early on.

So has there been any discussion about that issue
and where we stand on that matter?

MR. DINTZER: This is Kenneth Dintzer for the
Department of Justice, Your Honor. Good morning.

THE COURT: Good morning.

MR. DINTZER: Yesterday, we had a preliminary
discussion with defense counsel about that specific issue.

In fairness to defense counsel, I told him that we
would think about it and have it looked over and consider
the ramifications of providing this information to defense
counsel. We would have the same reservations that were
raised by the FTC in the Sysco case. In fact, we believe
that -- and would be, of course, happy to brief it, but
we believe that the concerns that we have here are deeper
and broader, and so they warrant a different outcome than in
the Sysco case.

THE COURT: Okay.

Well, I mean, look, I think this is, obviously, an

 

 
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important issue. I have expressed myself in how I view this
issue, at least in the context of Sysco, where I've said
that when the United States Government brings a case against
an entity; in this case, that entity has to have some
ability to allow someone from a live body be able to review
the discovery and help advise the lawyers who are
representing the outside lawyers who are representing the
entity.

And, you know, the FTC, if I remember correctly in
that case, had suggested that it would not be appropriate to
share third-party material with anyone within the defendant
client, and that's not something I accepted.

I think we put in pretty strict controls over the
number of people within the companies that would be
permitted to review the material, and the consequences for
misusing that material were pretty severe.

And, you know, once we put those protections in
place, that was really the last we heard about it. And
I think it's because everybody agreed to play within the
rules, and nobody came close to the line. And I'm certainly
hopeful that we have the same solution here.

So, look, I guess what I would encourage the
parties to do, because I don't feel like we have a real
dispute yet in front of me that I ought to weigh in on --

but I would certainly encourage the parties to work toward a

 

 
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resolution of that. And, as I said, you've got some
information before you; you're not writing entirely ona
clean slate when it comes to my views. So to the extent
that that's helpful, I think you all ought to take that into
account.

But I'd like to set a deadline, if we could, to at
least see where we stand on that issue with respect to the
protective order and whether the contours of any protective
order are going to need to be litigated.

So what do both sides think is a reasonable time
frame within which you all can either report back and say
that you've reached an agreement or that you think you're
going to need to have the issue briefed and litigated?

MR. SCHMIDTLEIN: Your Honor, this is John
Schmidtlein again for Google.

I would recommend that we report back to you by
next Friday, November the 6th.

THE COURT: Okay.

MR. DINTZER: This is Kenneth —- I'm sorry
Your Honor?

THE COURT: No. Go ahead, Mr. Dintzer, is that an
acceptable time frame for you?

MR. DINTZER: It is.

THE COURT: Okay.

All right. So we'll look to, then, get a Joint

 

 
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Status Report from the parties by next Friday that indicates
where things stand with the protective order.

And basically what I'd like to know is whether
you've reached agreement on a protective order. It need not
be final, but, nevertheless, whether you've agreed to some
agreement, at least as to all parameters of a protective
order, or whether there are going to be elements of this
that we should litigate early and try and resolve before
any -—- particularly any third-party material is exchanged.

Now, that said, let's talk about initial
disclosures and any other discovery the government is
prepared to make, particularly any —- well, I assume the
company obviously has whatever material it's turned over,
but I assume there are investigative transcripts and the
like that can be turned over early -—- or sooner rather than
later.

So have you all had a discussion about initial
disclosures and other early disclosures before the parties,
like I said, exchange formal discovery requests?

MR. DINTZER: This is Kenneth Dintzer.

We haven't, Your Honor.

Our take on this would be that within 30 days
after the entry of the protective order, the Rule 26 initial
disclosures would be exchanged, and at that time, that fact

discovery would commence.

 

 
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And that as part of fact discovery, the
plaintiffs -- I mean, the defendants could, of course ——
and, presumably, would —- issue the necessary document
requests, and that we would respond to it in normal course,
just as we would provide our -- and, you know, kick off the
litigation ourselves with requests for the defendants, as
well as probably for others.

So we think that rather than -- and I understand
in the merger context, where basically everything is on
fire, there's a certain pattern to turning things over
because there's simply not the time to do anything else. We
would ask that this be done sort of in the context of the
normal progression of the case, which we do want to do
quickly. So we are saying 30 days after the entry of the
protective order, we'll have the Rule 26 disclosures; in
fact, discovery will commence. That is how we sort of would
propose structuring the steps forward.

THE COURT: Okay.

Mr. Schmidtlein, what are your thoughts and your
reaction to that proposal?

MR. SCHMIDTLEIN: Well, Your Honor, I guess I
would view it a little bit differently.

In terms of initial disclosures, I would
propose —- I don't think that initial disclosures need to

wait until the entry of a protective order in the case.

 

 
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I think that I would like initial disclosures to be made by
November the 13th.

I think that the -- in terms -- and in this
interim period, we do believe -—- and we are anxious to get
the government investigatory materials. And we're prepared
to take that on an outside-counsel-only basis while the
parties discuss or potentially litigate this question of
whether third-party material will be made available in some
form or under some restricted access to in-house lawyers.
But we certainly don't see there being any delay in the
production and the discovery of that material.

As far as beginning discovery and serving
discovery among the parties, I don't have a problem with a
slight pause or staggering that a little bit.

But our ability to begin formulating our discovery
plan in the case will be impacted, to some degree, based
upon the initial disclosures we get from the plaintiffs and
from the third-party materials that have already been
gathered and the government has access to. I want to begin
reviewing and considering that material as soon as possible
because that will impact how we go about conducting
third-party discovery in this case, and it, candidly, will
impact the schedule in the case.

As I mentioned earlier, we are very, very anxious

 

and ready and willing to move this case expeditiously.

 

 
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We look forward to defending this case to the fullest, and
we want access to that material so that we can begin that
process as soon as possible.

THE COURT: OKay.

Well, here's my reaction to all of this, which is:
I tend to agree with Mr. Schmidtlein in the sense that,
look, if the defendant is prepared to move forward, then
certainly the government ought to be ready to move forward
as well. As I understand it, the government has been
investigating this case for the better part of a year, if
not longer, and so it ought to be in a position to move
forward with the disclosure of the evidence that it's
acquired.

So, you know, perhaps an initial disclosure
deadline of two weeks is a little bit aggressive. But I do
think let's not wait until a decision on the protective
order -- we can certainly talk about whether the protective
order -- excuse me, any initial disclosures should be
subject to counsel's eyes only or something of that nature,
if that's required.

You know, for example, I don't know whether the
government, at this juncture, would believe that certain --
the identity of third-party witnesses, potential third-party
witnesses is the kind of thing that either should be for

counsel's eyes only at this point or not.

 

 
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So let's do the following: Why don't we -- well,
let me ask: Mr. Dintzer, if we were to do initial
disclosures, how about something by November 20th, is that a
reasonable -- that's three weeks from today.

MR. DINTZER: Your Honor, just so that I make sure
that I understand what the Court is asking: We're talking
about the Rule 26(a) (1) disclosures; is that right?

THE COURT: Correct. Correct.

MR. DINTZER: Okay. Yes.

And am I right, Your Honor, that the defendants
would be making the same disclosures to us?

THE COURT: Yes, those would be evenly exchanged
on November 20th.

MR. DINTZER: We can do that, Your Honor.

THE COURT: Okay.

And I will leave it to you all to let me know
whether there are any protective-order-related issues with
respect to the initial disclosures. As I said, look,

I can't -- I'm in no position to anticipate what all the
potential issues might be. But as I said, at least there
are some possible issues with respect to identifications of
persons with knowledge. That's the one issue that strikes
me from the get-go. So if those issues do arise, I think
you all just need to let me know if you can't come to some

agreement about how those should be treated and we'll

 

 
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proceed in that fashion, okay?

So we'll set that as the deadline. And if there's
some disagreement about the form and format of the way those
are exchanged, that's just something you all should bring to
my attention in advance of that date. And we'll talk a
little bit of housekeeping in terms of how you should
communicate with chambers and the like, okay?

So let's talk, then, about the government's
investigative file. Look, I assume that, you know, the very
first document request is going to be for every document
that the government has in its investigative file. So
that'll come as no surprise to anyone.

I think the question to me, Mr. Dintzer, is,
what's a reasonable date by which the government would be in
a position to start producing that investigative file?

MR. DINTZER: If I could ask the Court, does the
Court envision that this production be part of a general
opening of fact discovery or would this sort of be a
unilaterally we'll make this, but fact discovery itself
would not open for some time into the future?

THE COURT: Well, look, that's a fair question.

On the other hand, I guess I don't know -- I mean,
you'd have to tell me what discovery you'd be seeking from
the defendant that you haven't already obtained from the

investigation.

 

 
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Now, there may be some —— there may be more
discovery that you'd be asking for. But I guess what I'm
most interested in at this point is a disclosure of what are
the obvious sort of corpus of material that's out there
that's going to be of interest to both sides.

MR. DINTZER: So respectfully, Your Honor, we —-
among other things, the government's investigative documents
that we got from Google, they ended in, I believe, 2019.

So, at a minimum, we'd want a refresh on those.

THE COURT: Okay.

MR. DINTZER: We would want additional custodians
that we have or may want to identify that we haven't
received.

And then there's access to certain data that we
were not able to obtain. And this is just talking about
discovery on the defendant, third-party discovery. We have
anticipated that we would have access to a significant
amount of third-party discovery as part of this.

So that would be -- and so what our ask would be,
Your Honor, would be that we raise the bar on fact discovery
for both sides. And then if docket -- assuming day one we
get a request from the defendants for our entire file, then
we'll have it for them in 30 days, as allowed by the rule.
And then that would allow us to also, you know, set out and

seek materials from the defendant that we have not yet

 

 
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gotten.

THE COURT: Okay.

Well, let's do this. You know, Mr. Schmidtlein,
did you want to add something to that?

MR. SCHMIDTLEIN: Your Honor, if I may, there's no
reason why the government file -- and by that I mean
documents that were produced either voluntarily or pursuant
to civil-investigative demand by third parties, any
declarations, any investigational hearing transcripts —-
there is no reason why all of those materials should not be
produced 30 days from today, if not sooner.

That material, the government has, you know, all
electronically. There is no reason for us to —- you know,
I assume Your Honor is probably going to want to schedule a
Rule 16 conference. And, you know, we're prepared to have
our 26(f£) report and do all of those -- you know, go through
all of those exercises to try to come back to Your Honor
with a schedule and begin thinking about how we move this
case forward. But our access to that material is going to
be critical for us to be able to build in and think about
the contours of this case and the timing of it.

Frankly, I would like to get -- if nothing else,
I would like a list, just a list of all of the parties who
they're going to produce information from and some estimate

of the volume of that material, because we have no insight

 

 
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into that. I don't know if they have —- I know how much
they've gathered from my clients, and it's a lot.

And Mr. Dintzer says they've only gathered
information through the end of 2019. They've gotten -—- they
have gone back and gotten some additional information
through the summer of 2020. They have a lot of information
that they have received from my client as part of this
investigation. I have no window into what material they've
received from others. So before we kick off discovery anew,
I need to get access to, I need to get insight into the
breadth of that other material. And there is no good reason
to hold off or postpone us getting that material.

So I would respectfully request, I'd like a list
next week of all of the various parties that have provided
information. And, again, I'm happy to take this on an
outside-counsel basis, an estimated volume of the type of
that information.

And then we want the actual -- all of the
underlying information --— I don't see any reason why they
can't produce that in 14 days, candidly, because, again,
it's all electronic. But if there's some other problem or
reason why it can't be done before then, I'm certainly
willing to work with plaintiffs' counsel. I don't want to
be unreasonable, but I've certainly been in cases where I've

been asked to make productions of that nature on that type

 

 
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of time schedule. So that's our position, Your Honor.
THE COURT: Okay.
MR. DINTZER: If I may be heard, Your Honor.
THE COURT: Sure, Mr. Dintzer. Why don't you go

ahead.

MR. DINTZER: It's just what the defense is asking

for, is asymmetric discover.
And I respect —- I mean, this is a significant

case, both in magnitude and in size. And there's really no

reason for us to sort of dock the steps envisioned under the

Federal Rules of Civil Procedure.

And there are things that we would like. One of
them --— and I don't want to get into the weeds with
Your Honor, but one of the things that when Google provided
certain information to us, they provided it coded —-— some
data that was significant to us, they provided it coded and
would not give us the code. And so that's something that

early on in discovery, we expect to revisit.

And so what they're envisioning is a process where

we're providing them with an enormous amount. They're not

providing us with anything in addition. And the Federal

Rules don't envision that. And, quite honestly, as somebody

who's defended the government on a number of occasions,
every defense counsel starts off with not having the

information, and that's what the discovery process is.

 

 
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So what my counsel at the Bar is describing is, basically,
the normal occurrence of every single defense case that I've
ever been part of.

So I would just say that and ask the Court to
allow us to proceed in something that's very orderly, which
is, let's get the protective order in place, and then let's
open —— let's get our initial disclosures, let's open fact
discovery, and then the parties can both seek the materials
they need going forward. I think that's the most efficient
thing.

THE COURT: Okay.

MR. SCHMIDTLEIN: Your Honor, just very briefly.

I am surely not asking for asymmetric discovery.
What a defendant experiences during the course of an
investigation, that is asymmetric discovery, I would
respectfully submit to you. I'm just trying to get caught
up. So we appreciate your consideration of this issue.

THE COURT: So let's do the following.

And I'm not doing this to kick the can down the
road just for the sake of kicking the can down the road.

I think we're early enough in this that we ought to let a
few things settle before I make some decisions about
deadlines in terms of making disclosures and who's
disclosing what.

So let's put a pause on this issue just for now.

 

 
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I'm not suggesting it will be long pause. But right now, we
at least have a couple of dates in place by -- so

November 6th, if my memory serves, that's the date you all
will get back to me in terms of a protective order. The
13th is the date by which the defense will indicate whether
it tends to move to dismiss or answer. And then we have an
initial disclosure date of November 3rd -- excuse me,
November 20th. So we have got three successive weekly
deadlines coming up in quick succession. And I think that's
at least a good way to get started in moving things forward.

And what I think we'll do is, before this call
ends, we'll set another status conference in a few weeks,
after at least a couple of these deadlines have passed, so
that I have a better sense of where things stand. And then
we can talk, perhaps, more ——- with a little bit more
certainty about where some things are headed, and that'll
help set some of the discovery schedule that both sides are
asking for at this point.

And, in particular, I'm obviously very interested
to hear from Google as to whether they're going to intend to
move to dismiss the case or not. And if we get some
indication that they are not intending to move to dismiss
the case, then we can certainly move forward full-steam
ahead with structuring discovery. So let's just put a pause

on that debate for now.

 

 
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Before I sort of turn to the next issue on my
agenda, that is, sort of a couple of questions of scope,
does anybody else want to raise anything about the schedule
and initial requests that either side may wish to raise at
this point?

MR. DINTZER: Not from the government, Your Honor.

MR. SCHMIDTLEIN: Not from Google, Your Honor.

THE COURT: All right. Very good.

Then I just had a couple of questions about scope,
and these are questions directed to the government.

I'm sort of curious about two things. The first
is whether, at this juncture, the government envisions any
amendment of the complaint, or whether it's the government's
intention, at least as of today, to prosecute this matter
under the current scope as it's defined by the complaint
that's before me right now or whether the government is
still contemplating an amendment that might expand some of
the theories of unoptimistic behavior.

MR. DINTZER: Your Honor, without waiving sort of
the rights that the Federal Rules provide down the road, we,
at this time, we have no intention of amending the
complaint.

THE COURT: Okay.

And certainly nothing you say here is necessarily

preclusive, I want to be clear about that. That was just a

 

 
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question that I had.

And then secondarily, whether the government is
aware of whether there may be any request to intervene in
this case by States Attorneys General —- there already are
some states who are plaintiffs in this matter ~- but whether
the government has any indication at this juncture whether
there may be additional states who may seek to intervene and
seek to expand the scope of the case?

MR. DINTZER: I guess the best way I could say
this, Your Honor, is nothing that I feel is concrete one way
or the other that I could speak about publicly at this time.

I don't want to answer the Court and say "I don't
know," but I don't have anything that is concrete enough for
me to provide a public answer on that.

THE COURT: Okay. That's fair.

I mean, again, these are questions that were just
top of mind for me in terms of thinking about things and
what the time -- what this case may look like over the
horizon. And, you know, I understand the constraints that
you're under in terms of your ability to make
representations. I appreciate that. Okay.

The final thing I wanted to just raise with the
parties is some housekeeping issues. The first concerns
just personal disclosures that I need to make to both

parties. I don't think either of these are terribly

 

 
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significant, but I want to make sure that everybody is aware
of them.

The first is that I have a first cousin, his name
is Chirag, C-h-i-r-a-g, Mehta, same last name, who is an
employee of Google; he's an engineer there. I will confess
to you I don't know what he does or what particular product
or area in Google he works in. He's someone that I am
periodically in touch with. So I wanted the parties to be
aware of that, one.

Two, a close friend of mine was an executive in
the company for many years. It's been a while. He's since
left the company. His name is Shailesh, S-h-a-i-l-e-s-h,
last name is Rao, R-a-o. I think at the time he left, he
was the head of Google in Asia or at least in East Asia.

He was the head of Google in India for a number of years.
He left the company, I think it was probably four or five
years ago. And, again, I don't know whether that's —-
whether he's at all relevant to any of the issues that are
before me, but I wanted to make sure everybody was aware of
that relationship.

Finally, again, I don't think this is an issue,
but, as you all may know, I've been the judicial
representative to the ABA antitrust section for the last
year-plus. I'm in a term of three years. I've obviously

been to conferences where these issues concerning antitrust

 

 
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investigations of tech companies have been discussed. I've
done nothing more than participate in them as a listener;
I've not been on any panels discussing the topic. And to
the extent that the ABA has taken any position on these
issues, I don't know whether it has or not, and let me
assure you that I have not participated in any discussions
about taking issues —- taking a position on any issues that
might be relevant to this case, if the ABA has done so. So
I wanted to make that disclosure to everyone.

Just a couple of issues to highlight for down the
road; I don't know that we need to have any firm decision
about these -- either of these two issue.

The first concerns filings that you all make. You
know, I found in the Sysco case that having hyperlinked
briefs was extremely helpful to me. Now, you know, that
case didn't involve that many pleadings, as it turns out,
and I would expect that this case may have some more.

But I want you all to just be mindful that I will
probably ask you to hyperlink your briefs that you submit to
me, perhaps not all of them, but certainly any substantive
briefs that involve significant case law and obviously
anything that involves significant links to any record.

It is just extremely helpful for a judge to be
able to have a brief, an electronic brief where you can

click on hyperlinks to the record and have those record

 

 
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citations come up automatically on a second screen. It's
just incredibly valuable. So as we move forward, I think
we'll talk more about briefs that necessitate hyperlinks and
how to go about doing written briefs that are hyperlinked
with the record, that's one.

Two, in terms of sealed materials, again, I don't
see that anything we discussed early on right now will
necessarily require the filing of sealed materials, but, you
know, I'm sensitive to the fact that there may be, at
various points in time, either commercially valuable
information, trade secrets of the defendant, or third-party
information that parties want to put before the Court. You
know, I will ask you all to be mindful of how much of that
you think actually needs to be placed under seal.

There is, as both sides know, case law from the
Circuit that requires the Court to weigh both public and
private interests in making sealing determinations. I found
in Sysco that the parties were pretty good about just simply
placing everything under seal reflexively and were
thoughtful and sensitive about it before they actually
placed something under seal, and I would just ask you all to
do the same.

Again, you know, I don't think I'm in a position
at this point, since I don't know what the full scope of the

types of materials would be, to lay down any hard-and-fast

 

 
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rules about what should be under seal and what should be not
under seal. But I think it is important at this point to
just ask everybody to be mindful about that issue.

Third, in terms of communicating with chambers in
these early weeks and months, I'll just ask that, to the
extent that there's any particular request, whether it be
with respect to scheduling and the like or any specific
requests that any of the parties are seeking by relief, that
it be done through a motion.

You know, this is a very public case and folks are
following it closely. And so to the extent that there are
specific requests for changes in timing or specific requests
for relief, please file a motion requesting that relief.
Obviously, make sure you confer with the other side, as
required by Local Rules, before you do so.

As we move forward in this case, we'll have to
come up with procedures regarding discovery disputes. My
ordinary procedure, which is usually to just have the
parties call chambers to raise disputes, I don't think,
frankly, is going to be appropriate in this case, given its
scope and the public nature of it. So I think we'll want to
have to think through a little bit how to deal with
discovery disputes. I don't think it's anything we need to
consider now, but something to bear in mind as we move

forward.

 

 
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an issue but just to set an expectation for both sides:
I recognize the stakes are high in this case, nobody needs
to be reminded of that; the significance of the matter is

evident to everyone.

terrific in that regard, highest degree of professionalism
and courtesy to one another, and it's certainly my
expectations that the parties in this case will live up to

that standard.

morning. Does anybody else want to raise anything else
before we adjourn this morning?

MR. DINTZER: The Department of Justice has
nothing else to address, Your Honor. Thank you.

THE COURT: All right. Thank you, Mr. Dintzer.

MR. SCHMIDTLEIN: Nothing else for Google,

Your Honor. Thank you.

 

The final issue I want to just raise is not really

But I will just ask everybody to please be mindful
of the importance of professionalism and decorum among the
parties. I will tell you that the lawyers in Sysco versus
U.S. -- in the FTC case against Sysco and US Foods were

All right. With that, that was my agenda for this

THE COURT: Okay. Very good.

IT think the one last thing, just before we
adjourn, let me -- once last thing I do want to do is, let's
set another date for us to reconvene. I think these

 

 
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periodic -~ I think setting up periodic check-ins will be
useful not just at the start but going forward.

But we've got a couple of dates on the calendar
right now already. So why don't we —- what's everybody's
availability on November the 16th at, say, 11:00 a.m.?

MR. DINTZER: The Department of Justice is
available, Your Honor, for meeting at that time.

MR. SCHMIDTLEIN: Your Honor, this is John
Schmidtlein.

I actually have a deposition that date that I will
be --

THE COURT: You mean, Mr. Schmidtlein, you
actually have other matters?

All right. Well, so the 16th doesn't work for
Mr. Schmidtlein; that's fine.

My schedule on the 17th is a little packed right
now. So how about the 18th, how does that look for
everybody at, say, 11:30?

MR. DINTZER: The Department of Justice is
available at that time, Your Honor.

MR. SCHMIDTLEIN: Yes, John Schmidtlein for
Google. That time is good for us as well. Thank you for
accommodating my schedule.

THE COURT: Oh, of course.

So on the 18th, we'll have another status

 

 

 
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conference.

And, look, you know, we will continue to have
these status conferences telephonically or, if the need
arises, through videoconference for the foreseeable future.
You know, I'm just not inclined at this point to require
lawyers to come in unnecessarily when we can accomplish what
we need to accomplish telephonically.

I am also very cognizant of the number of people
that a public hearing in court could draw, and it seems to
me —- it seems that, for the safety of everyone, continuing
to do these conferences telephonically until the foreseeable
interest is in everybody's health and safety interests. So
we'll continue to proceed in this fashion, unless there's a
pressing reason to come before the Court physically.

Okay. With that, thank you, all, for your time
this morning, and we'll look forward to hearing from you.
We'll get out a Minute Order that contains the dates that
we've discussed this morning and then we'll look forward to
getting back together with everybody in a few weeks,
all right?

MR. SCHMIDTLEIN: Thank you.

MR. DINTZER: Thank you, Your Honor.

(Proceedings concluded at 10:50 a.m.)

 

 
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CERTIFICATE
I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the

technological limitations of court reporting remotely.

Date:__November 10, 2020 /S/__William P. Zaremba

William P. Zaremba, RMR, CRR

 

 

 
 

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